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 1                                                    Judge Leighton
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 6
                             UNITED STATES DISTRICT COURT
 7                          WESTERN DISTRICT OF WASHINGTON
                                      AT TACOMA
 8
     UNITED STATES OF AMERICA,              )
 9                                          )                NO.    CR05-5797RBL
                                            )
10                    Plaintiff,            )
                                            )
11         v.                               )                ORDER OF DISMISSAL
                                            )
12   MARCY GOODSON,                         )
                                            )
13                    Defendant.            )
     _______________________________________)
14
            This matter comes before the Court by request of the United States for leave to
15
     dismiss, without prejudice, the Indictment as to defendant Marcy Goodson; defendant
16
     does not object to the dismissal, and for the reasons stated in the government’s request,
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     and this Court’s review of the entirety of the files, therefore, IT IS HEREBY
18
     ORDERED:
19
            The United States’ request is GRANTED, and,
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            The Indictment is dismissed as to defendant Marcy Goodson, without prejudice.
21
            Dated: this 29th day of June, 2006.
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                                        A
                                        RONALD B. LEIGHTON
                                        UNITED STATES DISTRICT JUDGE
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     ORDER OF DISMISSAL/Goodson— 1                                               UNITED STATES ATTORNEY
     CR05-5797RBL                                                                 700 Stewart Street, Suite 5220
                                                                                 Seattle, Washington 98101-1271
                                                                                          (206) 553-7970
